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                                                                                 FILED
                                                                     United States Court of Appeals
                           UNITED STATES COURT OF APPEALS                    Tenth Circuit

                                   FOR THE TENTH CIRCUIT                  February 1, 2022
                               _________________________________
                                                                        Christopher M. Wolpert
                                                                            Clerk of Court
  DWAIN EDWARD THOMAS,

         Plaintiff - Appellant,

  v.                                                         No. 21-6011
                                                      (D.C. No. 5:20-CV-00944-D)
  KEVIN STITT, Governor; STEVEN                              (W.D. Okla.)
  BICKLEY, Executive Director of the
  Oklahoma Pardon and Parole Board; T.
  HASTINGS SIEGFRIED, Chair of the
  Oklahoma Board of Corrections; SCOTT
  CROW, Director of the Oklahoma
  Department of Corrections,

         Defendants - Appellees.

  --------------------------

  CAMPAIGN FOR THE FAIR
  SENTENCING OF YOUTH,

            Amici Curiae.
                               _________________________________

                                   ORDER AND JUDGMENT *
                               _________________________________

 Before HOLMES, PHILLIPS, and EID, Circuit Judges.
                   _________________________________


        *
         After examining the briefs and appellate record, this panel has determined
 unanimously that oral argument would not materially assist in the determination of
 this appeal. See Fed. R. App. P. 34(a)(2); 10th Cir. R. 34.1(G). The case is therefore
 ordered submitted without oral argument. This order and judgment is not binding
 precedent, except under the doctrines of law of the case, res judicata, and collateral
 estoppel. It may be cited, however, for its persuasive value consistent with
 Fed. R. App. P. 32.1 and 10th Cir. R. 32.1.
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       Dwain Edward Thomas, an Oklahoma state prisoner, appeals from the district

 court’s order dismissing his 42 U.S.C. § 1983 complaint on screening under

 28 U.S.C. § 1915A(a)-(b)(1) for failure to state a claim upon which relief may be

 granted. Exercising jurisdiction under 28 U.S.C. § 1291, we reverse and remand for

 further proceedings consistent with this order and judgment.

                                 I. INTRODUCTION

       Mr. Thomas filed suit against the Governor of Oklahoma, the Executive

 Director of the Oklahoma Pardon and Parole Board (PPB), the Chair of the Oklahoma

 Board of Corrections, and the Director of the Oklahoma Department of Corrections

 (DOC) claiming that Okla. Stat. tit. 57, § 332.7—Oklahoma’s statute governing

 parole consideration—is unconstitutional as applied to juvenile homicide offenders

 sentenced to life. Mr. Thomas alleges that Oklahoma’s parole system is

 unconstitutional under the Eighth Amendment and Article II, § 9 of the Oklahoma

 Constitution because it fails to provide a meaningful opportunity to obtain release

 based on demonstrated maturity and rehabilitation as required by the Supreme

 Court’s juvenile-sentencing precedents.

       A magistrate judge screened the complaint and issued a report and

 recommendation to dismiss the complaint for failure to state a claim upon which

 relief may be granted. See § 1915A(a)-(b)(1). Mr. Thomas filed timely objections.

       The district court conducted a de novo review, overruled the objections, and

 adopted the magistrate judge’s recommendation. The court found that Mr. Thomas

 failed to state a claim for relief under the Eighth Amendment and declined to exercise

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 supplemental jurisdiction over his claim under the Oklahoma Constitution.

 Accordingly, the court dismissed the complaint. Mr. Thomas appeals.

                         II. MR. THOMAS’S COMPLAINT

       In 1997, when he was 15 years old, Mr. Thomas pled guilty to three homicide

 offenses—one count of first-degree murder and two counts of murder. Under the

 sentencing scheme applicable at the time, the court was required to impose

 mandatory life sentences. As such, Mr. Thomas was sentenced without any

 individualized decision that considered his youth or other attendant characteristics.

 Mr. Thomas was eligible for parole consideration after serving fifteen years of each

 sentence.

       Mr. Thomas alleges that throughout more than two decades in prison, he has

 consistently demonstrated good behavior. He has received “Excellent” or

 “Outstanding” ratings in all aspects of the “current patterns of behavior” section of

 his periodic “Adjustment Review” from the Department of Corrections (DOC). Aplt.

 App. at 39 (internal quotation marks omitted). Moreover, since at least 2003, Mr.

 Thomas has maintained “Level IV” privilege status—the highest level an inmate may

 achieve under relevant operations procedures. Id. at 7. He works as a technician for

 the facility maintenance department—a position he has held for more than eighteen

 years—and has also achieved several certifications. In summary, Mr. Thomas

 maintains that he has been a model prisoner.

       Mr. Thomas has been considered for and denied parole on four occasions. On

 each occasion, his parole investigators have given favorable recommendations to the

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 PPB based on his demonstrated good behavior. Moreover, “DOC classification

 counselors assessing [his] readiness for parole have [repeatedly] noted his

 ‘excellent’ record and observed that the only issue hindering his release is the State’s

 parole system.” Id. at 38. Mr. Thomas further maintains that “[n]othing in [his]

 record suggests, nor was any finding ever made, that his crime reflected that he was

 among the rarest juveniles whose crime reflects permanent incorrigibility.” Id. at 37

 (brackets and internal quotation marks omitted).

       Despite his excellent record, Mr. Thomas has never progressed past the first

 stage of parole review. To the best of his knowledge, the PPB has refused to

 recommend him for parole solely due to the “aggravating factors associated with the

 original crime.” Id. at 13, 26, 36 (internal quotation marks omitted).

       Turning to Oklahoma’s parole system, Mr. Thomas states that PPB regulations

 establish only the timing of parole review and a two-stage review process. “The first

 stage is a ‘jacket review,’” when the PPB votes on whether to pass the offender to

 stage two. Id. at 28. At stage two, the PPB votes to determine whether to

 recommend parole.

       According to Mr. Thomas, these threadbare regulations make no distinctions

 or accommodations for individuals who committed crimes as juveniles. And to make

 matters worse, Mr. Thomas alleges “PPB’s practices penalize [juvenile offenders] by

 relying on risk assessment tools that assess the individual as if frozen in time upon

 their arrival,” and, as such, do not consider their “maturation over time,

 accomplishments, or institutional record[s].” Id. at 29. Further, there are no

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 evidentiary rules, no right to obtain expert assistance or testimony, no cross-

 examination, no compulsory process, no assistance of counsel, no right to challenge

 the accuracy of any information in the PPB’s file, and no right to an explanation.

       Mr. Thomas alleges that the authority to grant parole to any person convicted

 of a violent crime, rests exclusively with the Governor. Although the law

 contemplates that the Governor’s parole power may be constrained, according to

 Mr. Thomas, no constraints or enforceable standards have ever been adopted. This

 means the Governor can reject the PPB’s recommendation for any reason, without

 any explanation or opportunity for review.

                             III. LEGAL FRAMEWORK

       Mr. Thomas’s claims are based on a series of Supreme Court cases beginning

 with Roper v. Simmons, 543 U.S. 551 (2005), followed by Graham v. Florida, 560

 U.S. 48 (2010), continuing in Miller v. Alabama, 567 U.S. 460 (2012) and

 Montgomery v. Louisiana, 577 U.S. 190 (2016), and addressed most recently in Jones

 v. Mississippi, 141 S. Ct. 1307 (2021). Collectively, these cases frame the contours

 of the Eighth Amendment as applied to the sentencing of juvenile offenders.

       Roper held that the Eighth Amendment prohibits sentencing juvenile offenders

 to death. See 543 U.S. at 568. Building on Roper, which recognized the lesser

 culpability of juveniles and their capacity for change, Graham held that the Eighth

 Amendment categorically bars sentencing juvenile offenders to life without parole

 for non-homicide offenses. See 560 U.S. at 74.



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       In Miller, the Court extended its reasoning in Graham to hold that the Eighth

 Amendment prohibits imposing a mandatory sentence of life without parole on a

 juvenile homicide offender. See 567 U.S. at 479. Based on its recognition that a

 lifetime in prison is a disproportionate sentence for all but those juveniles whose

 crimes reflect “irreparable corruption,” id. at 479-80, the Court held that that

 “mandatory penalty schemes” that “remov[e] youth from the balance” and “prevent

 the sentencer from taking account of these central considerations,” are

 unconstitutional, id. at 474. While this does not mean that “‘[a] State is . . . required

 to guarantee eventual freedom,’ [it] must provide ‘some meaningful opportunity to

 obtain release based on demonstrated maturity and rehabilitation.’” Id. at 479

 (quoting Graham, 560 U.S. at 75).

        In Montgomery, the Court gave retroactive effect to Miller’s rule that “life

 without parole [is] an unconstitutional penalty for a class of defendants because of

 their status—that is, juvenile offenders whose crimes reflect the transient immaturity

 of youth.” 577 U.S. at 208. When the State has imposed a mandatory sentence of

 life without parole on a homicide juvenile offender, it can cure that violation in one

 of two ways: (1) the State can conduct an individualized sentencing proceeding and

 resentence the offender to life without parole if it follows a process that considers

 youth and its attendant characteristics 1 or (2) the State can allow juvenile homicide


       1
          See Jones v. Mississippi, 141 S. Ct. 1307, 1311 (2021) (holding that before
 sentencing a juvenile homicide offender to life without parole, a sentencer must
 “consider an offender’s youth and attendant characteristics,” but need not make a
 specific finding regarding incorrigibility)
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 offenders to be considered for parole. See id. at 212. “Allowing those offenders to

 be considered for parole ensures that juveniles whose crimes reflected only transient

 immaturity—and those who have since matured—will not be forced to serve a

 disproportionate sentence in violation of the Eighth Amendment.” Id. “Those

 prisoners who have shown an inability to reform will continue to serve life

 sentences,” while “[t]he opportunity for release will be afforded to those who

 demonstrate the truth of Miller’s central intuition—that children who commit even

 heinous crimes are capable of change.” Id.

        Relying on these precedents, Mr. Thomas maintains that it is not enough for

 Oklahoma to impose a life sentence that makes him eligible for parole; instead, the

 State must operate a system that provides what the Eighth Amendment requires—a

 meaningful opportunity to obtain release based on demonstrated maturity and

 rehabilitation. He further alleges that Oklahoma’s ad hoc system of executive

 clemency falls woefully short.

                            IV. STANDARD OF REVIEW

        “Dismissal for failure to state a claim is a legal question we review de novo.”

 Young v. Davis, 554 F.3d 1254, 1256 (10th Cir. 2009). Our review is “for

 plausibility; that is, whether the complaint includes enough [well-pleaded] facts to

 state a claim to relief that is plausible on its face.” Id. (internal quotation marks

 omitted); see also Ashcroft v. Iqbal, 556 U.S. 662, 679 (2009) (“When there are well-

 pleaded factual allegations, a court should assume their veracity and then determine

 whether they plausibly give rise to an entitlement to relief.”).

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       A claim is facially plausible “when the plaintiff pleads factual content that

 allows the court to draw the reasonable inference that the defendant is liable for the

 misconduct alleged.” Iqbal, 556 U.S. at 678. “The plausibility standard is not akin

 to a probability requirement, but it asks for more than a sheer possibility that a

 defendant has acted unlawfully.” Id. (internal quotation marks omitted).

                                     V. ANALYSIS

       The district court determined that Mr. Thomas’s complaint failed to state a

 claim for relief under the Eighth Amendment claim for three reasons. First, the court

 found “Graham’s holding” that “juvenile nonhomicide offenders must be afforded

 some meaningful opportunity to obtain release based on demonstrated maturity and

 rehabilitation” applies only “to offenders convicted of non-homicide offenses.” Aplt.

 App. at 110 (internal quotation marks omitted). The court thus concluded that “to

 the extent Graham” requires a state parole system to provide a meaningful

 opportunity to obtain release, “th[at] requirement[] do[es] not extend to juvenile

 homicide offenders such as [Mr. Thomas].” Id. But as the Supreme Court explained

 in Miller, “Graham’s reasoning implicates any life-without-parole sentence imposed

 on a juvenile, even as its categorical bar [against life sentences without parole]

 relates only to nonhomicide offenses.” 567 U.S. at 473.

       Second, the district court found that although “Miller . . . prohibits mandatory

 life-without-parole sentences for juvenile offenders” and “Montgomery . . . provided

 that a Miller violation could be remedied by permitting juvenile homicide offenders

 to be considered for parole,” neither case “expanded existing parole procedures for

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 persons convicted as juveniles.” Aplt. App. at 110-11. But the Supreme Court has

 not specifically addressed Mr. Thomas’s argument—whether the Eighth Amendment

 requires the State to operate a parole system that affords a meaningful opportunity to

 obtain release based on demonstrated maturity and rehabilitation, or whether simply

 making a juvenile lifer eligible for parole is enough. Also, a fair reading of the cases

 does not foreclose Mr. Thomas’s claims.

       Last, the district court found that “while Miller’s holding included a

 procedural component in that it requires a sentencer to consider a juvenile offender’s

 youth and attendant characteristics before determining that life without parole is a

 proportionate sentence, that procedure was not violated here because [Mr. Thomas]

 was not sentenced to life without parole.” Id. at 111 (internal quotation marks

 omitted). Or as Mr. Thomas frames the order:

       [T]he district court held that as long as a state on paper offers a purported
       “parole” system for juvenile homicide offenders, that state has satisfied its
       constitutional obligations even if that system operates as a wholly arbitrary
       system of ad hoc executive clemency that provides no meaningful
       opportunity to obtain release based on demonstrated maturity and
       rehabilitation.
 Aplt. Opening Br. at 24.

       Regardless of how the district court’s order is framed, it purports to address

 complex issues of first impression without an opportunity for the parties to develop

 the facts and their legal arguments. Our careful review of Mr. Thomas’s complaint

 and his arguments on appeal convinces us that he has stated plausible claims for




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  relief. This is not to say that Mr. Thomas will prevail; however, the complaint

  contains enough well-pleaded facts to plausibly entitle him to relief.

                                   VI. CONCLUSION

        The district court’s order dismissing Mr. Thomas’s complaint is vacated, and

  the case remanded for further proceedings consistent with this order and judgment.




                                              Entered for the Court


                                              Gregory A. Phillips
                                              Circuit Judge




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                     UNITED STATES COURT OF APPEALS FOR THE TENTH CIRCUIT
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                                      February 01, 2022


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  RE:       21-6011, Thomas v. Stitt, et al
            Dist/Ag docket: 5:20-CV-00944-D

 Dear Counsel:

 Enclosed is a copy of the order and judgment issued today in this matter. The court has
 entered judgment on the docket pursuant to Fed. R. App. P. Rule 36.

 Pursuant to Fed. R. App. P. Rule 40(a)(1), any petition for rehearing must be filed within
 14 days after entry of judgment. Please note, however, that if the appeal is a civil case in
 which the United States or its officer or agency is a party, any petition for rehearing must
 be filed within 45 days after entry of judgment. Parties should consult both the Federal
 Rules and local rules of this court with regard to applicable standards and requirements.
 In particular, petitions for rehearing may not exceed 3900 words or 15 pages in length,
 and no answer is permitted unless the court enters an order requiring a response. See Fed.
 R. App. P. Rules 35 and 40, and 10th Cir. R.35 and 40 for further information governing
 petitions for rehearing.
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 Please contact this office if you have questions.

                                             Sincerely,



                                             Christopher M. Wolpert
                                             Clerk of Court



  cc:      Brendan Krasinski
           Colleen McElroy
           Jody Rhodes
           Rebecca Turner



  CMW/jm
